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                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT

 3
                                                                   EASTERN DISTRICT OF WASHINGTON



                                                                    Oct 16, 2020
 4                                                                      SEAN F. MCAVOY, CLERK

                           UNITED STATES DISTRICT COURT
 5
                        EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,
 7                                                 No. 2:19-CR-00145-RHW-1
                                Plaintiff,
 8          v.                                     ORDER PROTECTING
                                                   DISCOVERY MATERIALS
 9    JESSE MCKAY,

10                              Defendant.

11

12         Before the Court is the United States’ Unopposed Motion for a Protective

13   Order. ECF No. 109. The United States seeks to prevent the dissemination of

14   sensitive discovery materials, including the personal identifying information of

15   cooperating witnesses and the medical records of the victim. Id. at 2; see Fed. R.

16   Crim. P. 16(d)(1) (authorizing the Court to regulate discovery). Defense counsel

17   has no objection. ECF No. 109 at 5. Finding good cause to grant the United States’

18   request, IT IS HEREBY ORDERED:

19         1.     The United States’ Unopposed Motion for a Protective Order, ECF

20   No. 109, is GRANTED.




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 1         2.     The United States is authorized to disclose discovery in its possession

 2   and any Protected Information contained therein. “Protected Information” means

 3   sensitive personal, business, and financial information of Defendant and third

 4   parties, including for example, social security numbers, driver’s license and

 5   identification information, taxpayer identification numbers, tax information and

 6   records, salary information, dates of birth, birth places, addresses, phone numbers,

 7   e-mail addresses, personal photographs, cooperating witness information, minor

 8   witness information, and financial and business account numbers and information.

 9         3.     Defense counsel shall not share or provide any discovery items

10   produced by the United States in this case with anyone other than designated

11   defense counsel, defense investigators, retained expert witnesses, and support staff

12   (“defense team”). Defense counsel may permit Defendant to view unredacted

13   discovery items in the presence of the defense team. The defense team may also

14   show unredacted discovery items to witnesses in regard to items or events about

15   which a witness may have personal knowledge. The defense team shall not allow

16   Defendant or witnesses to copy the Protected Information.

17         4.     The discovery and Protected Information may be used only in

18   connection with this case and for no other purpose. The discovery is now and will

19   forever remain the property of the United States. At the conclusion of the case,

20   defense counsel will return the discovery to the United States, will certify




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 1   that it has been shredded, or, if the materials are still needed, will store it in a

 2   secure place and not disclose it to third parties. If defense counsel is relieved or

 3   substituted from the case, he will return the discovery to the United States or

 4   certify that it has been shredded.

 5          5.     Defense counsel shall store the discovery in a secure place and will

 6   use reasonable care to ensure that it is not disclosed contrary to this order.

 7          6.     Defense counsel shall be responsible for advising Defendant,

 8   witnesses, and members of the defense team of the contents of this order.

 9          7.     This order shall also apply to any new defense counsel that may later

10   become counsel of record in this case.

11          IT IS SO ORDERED. The District Court Executive is directed to enter this

12   order and forward copies to counsel.

13          DATED this October 16, 2020.

14                                    s/Robert H. Whaley
                                   ROBERT H. WHALEY
15                            Senior United States District Judge

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